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Case 2:09-cv-00446-TSZ Document 17 Filed 11/20/09 Page 1 of 19

THE HONORABLE THOMAS S. ZILLY

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON
AT SEATTLE

IN THE MATTER OF THE COMPLAINT OF
KATMAI FISHERIES, INC. AS OWNER

AND/OR OPERATOR OF THE VESSEL Case No. 09-0446TSZ

KATMAL OFFICIAL NUMBER 918779, FOR

EXONERATION FROM AND/OR DECLARATION OF THERESA K.
LIMITATION OF LIABILITY FUS

 

 

 

I, THERESA FUS, declare as follows:

1. I am the attorney of record for Katmai Fisheries, Inc. in this matter and
make the following representations based on my personal knowledge. I am over the age
of 18 and am competent to make this declaration.

2. Attached as Exhibit A are true and correct copies of the letters sent to all
persons known to have a claim, and their respective certified mail receipts. As stated in
the letter, enclosed were the Limitation Complaint, Order, and an Acceptance of Service.
The enclosures are not produced here for efficiency, but can be produced upon request.

3. Attached as Exhibit B is a true and correct copy of In re F/V ALASKA
RANGER, Case No. C-08-0945 RSL, Order Granting Default Judgment (W.D. Wash.
Aug. 20, 2009).

DECLATATION OF THERESA K. FUS - 1
Case No. 09-0446TSZ HOLMES WEDDLE & BARCOTT
999 THIRD AVENUE, SUITE 2600
SEATTLE, WASHINGTON 98104-4011
TELEPHONE (206) 292-8008

 
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Case 2:09-cv-00446-TSZ Document 17 Filed 11/20/09 Page 2 of 19

I declare under penalty of perjury under the laws of the state of Washington that

the foregoing is true and correct.

DATED this 20" day of November, 2009.

HOLMES WEDDLE & BARCOTT, P.C.

“tl

Michael Williamson, WSBA #4185
Michael A. Barcott, WSBA #13317
Theresa K. Fus, WSBA #13317

999 Third Avenue, Suite 2600
Seattle, Washington 98104
Telephone: (206) 292-8008
Facsimile: (206) 340-0289

Email: mbarcott@hwb-law.com

Attorneys for Limitation Plaintiff

DECLATATION OF THERESA K. FUS - 2
Case No, 09-0446TSZ HOLMES WEDDLE & BARCOTT
999 THIRD AVENUE, SUITE 2600
SEATTLE, WASHINGTON 98104-4011
TELEPHONE (206) 292-8008

 

 
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Case 2:09-cv-00446-TSZ Document 17 Filed 11/20/09 Page 3 of 19

CERTIFICATE OF SERVICE

The undersigned certifies under penalty of perjury
of the laws of the State of Washington that, on the

20% day of November, 2009,

the foregoing was electronically filed with the Clerk
of Court using the CM/ECF system, which will send
notification of such filing to the following:

George Knowles
Injury at Sea

4705 — 16" Ave NE
Seattle, WA 98105

James Beard

Beard Stacey Trueb & Jacobsen, LLP
4039 21st Avenue West, Suite 401
Seattle, WA 98199

Jack Garyth Poulson
Poulson & Woolford, LLC
636 Harris Street

Juneau, AK 99801

Corrie J. Yackulic

Schroeter Goldmark & Bender
500 Central Building

810 Third Avenue

Seattle, WA 98104
AAA AA Ww

vy VV SM
Katy Percini 7

Dave Anderson

Anderson, Connell & Carey
1501 Eldridge Avenue

P.O. Box 1015

Bellingham, WA 98227-1015

Don Buckland

Buckland & Schumm, PS
120 Prospect
Bellingham, WA 98104

Carol L. Hepburn

Attorney at Law

2722 Eastlake Ave. E., Suite 200
Seattle, WA 98102

David M. Kono

BTID

3165 East Millrock Drive, Ste. 500
Salt Lake City, Utah 84121

G:\4706\22845\Pidg\LIMITATION ACTION\Dec TKF re Mtn Dflt 11.19.09.doc

DECLATATION OF THERESA K. FUS - 3

Case No. 09-0446TSZ

HOLMES WEDDLE & BARCOTT
999 THIRD AVENUE, SUITE 2600
SEATTLE, WASHINGTON 98104-4011
TELEPHONE (206) 292-8008

 

 

 

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Case 2:09-cv-00446-TSZ Document 17 Filed 11/20/09 Page 4 of 19

f
LAW OFFICES OF -:

HOLMES WEDDLE & BARCOTT

A PROFESSIONAL CORPORATION

WELLS FARGO CENTER - 999 THIRD AVENUE, SUITE 2600 - SEATTLE, WASHINGTON 98104-4011
TELEPHONE {206} 292-8008 - FAX (206) 340-0289

MICHAEL A. BARCOTT
EMAIL: mbarcott@hwb-law.com

April 15, 2009

VIA CERTIFIED MAIL

David B. Anderson
Anderson, Connell & Carey
1501 Eldridge Avenue

P.O. Box 1015

Bellingham, WA 98227-1015

Re: Leonguerrerov. K: ama Fisheries, (AC.
Case No. 09-2-05330-8 SEA

Dear Mr. Anderson:

As you are already aware, Katmai Fisheries, Inc., (Limitation Plaintiffs) filed a limitation
action in the Western District of Washington. In that action, the Court issued the enclosed order,
directing the Limitation Plaintiffs to provide persons with injuries and/or claims copies of the
limitation action and the order itself. As the order states, all proceedings raising claims that arise
out of the KATMAI sinking are stayed. Any person that has such a claim must file it with the
Western District of Washington no later than June 30, 2009.

In addition to the limitation action and order, enclosed you will find an acceptance of
service. It is my understanding that you prefer that correspondence come to you directly rather
than to your client. If you accept service of the limitation action and order on behalf of your
client, please sign and return the enclosed Acceptance of Service. If you do not accept service,
please notify me immediately so that we can send notice directly to your client.

Very truly yours,

[ (Michael A. Barcott

MAB:cd
Enclosure

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FILE COPY cena opt 4

ANCHORAGE OFFICE - 701 WEST EIGHTH AVENUE, SUITE 700 - ANCHORAGE, ALASKA 99501-3408 - TELEPHONE {907} 274.0666 - FAX (907) 277.4657
Case 2:09-cv-00446-TSZ Document 17 Filed 11/20/09 Page 5 of 19

tA WwW OFFICES oO F

HOLMES WEDDLE & BARCOTT

A PROFESSIONAL CORPORATION

WELLS FARGO CENTER - 999 THIRD AVENUE, SUITE 2600 - SEATTLE, WASHINGTON 98104-4011
TELEPHONE (206) 292-8008 - FAX (206) 340-0289

MICHAEL A. BARCOTT
EMAIL: mbarcott@hwb-law.com

April 15, 2009

VIA CERTIFIED MAIL

David B. Anderson
Anderson, Connell & Carey
1501 Eldridge Avenue

P.O. Box 1015

Bellingham, WA 98227-1015

Re: MWarindadlev. Karmal Fisheries, [nc
Case No. 09-2-05311-1 SEA

Dear Mr. Anderson:

As you are already aware, Katmai Fisheries, Inc., (Limitation Plaintiffs) filed a limitation
action in the Western District of Washington. In that action, the Court issued the enclosed order,
directing the Limitation Plaintiffs to provide persons with injuries and/or claims copies of the
limitation action and the order itself. As the order states, all proceedings raising claims that arise
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Very truly yours,
fy Michael A. Barcott

MAB:cd
Enclosure

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ANCHORAGE OFFICE - 701 WEST EIGHTH AVENUE. SUITE 700 - ANCHORAGE, ALASKA 99501.2408 - TELEPHONE {907} 274.0488 - FAX (907} 277-6657
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PS Form 3800, August 2006

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Case 2:09-cv-00446-TSZ Document 17 Filed 11/20/09 Page 7 of 19

LAW OFFICES OF

HOLMES WEDDLE & BARCOTT

A PEOFESSIONAL CORPORATION

WELLS FARGO CENTER - 999 THIRD AVENUE, SUITE 2600 - SEATTLE, WASHINGTON 98104-401]
TELEPHONE (206) 292-8008 - FAX (206) 340-0289

MICHAEL A. BARCOTT
EMAIL: mbarcott@hwb-law.com

April 15, 2009

VIA CERTIFIED MAIL

Donald Buckland
Buckland & Schumm, P.S.
120 Prospect Street
Bellingham, WA 98225

Re: Robert Davis /Katmat Fisheries
Our File No. 4706.22845

Dear Mr. Buckland:

As you are already aware, Katmai Fisheries, Inc., (Limitation Plaintiffs) filed a limitation
action in the Western District of Washington. In that action, the Court issued the enclosed order,
directing the Limitation Plaintiffs to provide persons with injuries and/or claims copies of the
limitation action and the order itself. As the order states, all proceedings raising claims that arise
out of the KATMAI sinking are stayed. Any person that has such a claim must file it with the
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In addition to the limitation action and order, enclosed you will find an acceptance of
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please notify me immediately so that we can send notice directly to your client.

Very truly yours,
fv Michael A. Barcott

MAB:cd
Enclosure

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ANCHORAGE OFFICE - 701 WEST EIGHTH AVENUE SUITE 700 - ANCHORAGE, ALASKA 00501 2408 - TELEPHONE {907} 274.0566 FAX (907) 277-4657

 

 

 
Case 2:09-cv-00446-TSZ Document 17 Filed 11/20/09 Page 8 of 19

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PS Form 3800, August 2006

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Donald Buckland
Buckland ¢ Schamm
(20. Prospect Street
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: PS Form 3811, February 2004

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Exhibit A_,p.5_ of 4
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Case 2:09-cv-00446-TSZ Document 17 Filed 11/20/09 Page 9 of 19

LAW OFFICES Oo F

HOLMES WEDDLE & BARCOTT

A PROFESSIONAL CORPORATION

WELLS FARGO CENTER - 999 THIRD AVENUE, SUITE 2600 - SEATTLE, WASHINGTON 98104-4011
TELEPHONE (206) 292-8008 - FAX (206) 340-0289

MICHAEL A. BARCOTT
EMAIL: mbarcott@hwb-law.com

April 15, 2009

VIA CERTIFIED MAIL

Jack Garyth Poulson
Poulson & Woolford, LLC
636 Harris Street

Juneau, AK 99801

Re: Lhe Estate of Carlos Martin Zabalav. Katmat Fisheries, Inc.
Our File No. 4706.22845

Dear Mr. Poulson:

As you are already aware, Katmai Fisheries, Inc., (Limitation Plaintiffs) filed a limitation
action in the Western District of Washington. In that action, the Court issued the enclosed order,
directing the Limitation Plaintiffs to provide persons with injuries and/or claims copies of the
limitation action and the order itself. As the order states, all proceedings raising claims that arise
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please notify me immediately so that we can send notice directly to your client.

Very truly “dy
hs ‘Michael A. Barcott

MAB:cd
Enclosure

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Document 17 Filed 11/20/09 Page 10 of 19

 
  

   
     
    

 

 

  

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Case 2:09-cv-00446-TSZ Document 17 Filed 11/20/09 Page 11 of 19

LAW OFFICES OF

HOLMES WEDDLE & BARCOTT

A PROFESSIONAL CORPORATION

WELLS FARGO CENTER - 999 THIRD AVENUE, SUITE 2600 - SEATTLE, WASHINGTON 98104-4011
TELEPHONE (206) 292-8008 - FAX (206) 340-0289

MICHAEL A. BARCOTT
EMAIL: mbarcott@hwb-law.com

April 15, 2009

VIA CERTIFIED MAIL

Corrie J. Yackulic

Schroeter Goldmark & Bender
500 Central Building

810 Third Avenue

Seattle, WA 98104

Re: Smith v. Katmal Fisheries, Inc.
Case Nos. 09-2-08509-9 SEA

Dear Ms. Yackulic:

As you are already aware, Katmai Fisheries, Inc., (Limitation Plaintiffs) filed a limitation
action in the Western District of Washington. In that action, the Court issued the enclosed order,
directing the Limitation Plaintiffs to provide persons with injuries and/or claims copies of the
limitation action and the order itself. As the order states, all proceedings raising claims that arise
out of the KATMAI sinking are stayed. Any person that has such a claim must file it with the
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please notify me immediately so that we can send notice directly to your client.

Very truly yours,

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Jor Michael A. Barcott

MAB:cd
Enclosure

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Case 2:09-cv-00446-TSZ Document 17 Filed 11/20/09 Page 12 of 19

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LAW OFFICES OF

HOLMES WEDDLE & BARCOTT

A PEOFESSIEONAL CORPORATION

WELLS FARGO CENTER - 999 THIRD AVENUE, SUITE 2600 - SEATTLE, WASHINGTON 98104-4011
TELEPHONE (206} 292-8008 - FAX (206) 340-0289

MICHAEL A. BARCOTT
EMAIL: mbarcott@hwb-law.com

April 15, 2009

VIA CERTIFIED MAIL

Joseph S. Stacey

Beard Stacey Trueb & Jacobsen, LLP
4039 — 21" Ave. W.

Suite 401

Seattle, WA 98199

Re:  74e Estate of Glenn Harper, Jr. v. Katmatl Fisheries, Inc.
Our File No. 4706.22845

Dear Mr. Stacey:

As you are already aware, Katmai Fisheries, Inc., (Limitation Plaintiffs) filed a limitation
action in the Western District of Washington. In that action, the Court issued the enclosed order,
directing the Limitation Plaintiffs to provide persons with injuries and/or claims copies of the
limitation action and the order itself. As the order states, all proceedings raising claims that arise
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please notify me immediately so that we can send notice directly to your client.

Very truly yours,

iwi

wv: Michael A. Barcott

MAB:cd
Enclosure

FILE COPY Exhibit_A p10) of 14

ANCHORAGE OFFICE - 701 WEST EIGHTH AVENUE, SUITE 700 - ANCHORAGE, ALASKA 99501-3408 - TELEPHONE (907) 274-0666 - FAX (907} 277-4657

 
Case 2:09-cv-00446-TSZ Document 17 Filed 11/20/09 Page 14 of 19

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Case 2:09-cv-00446-TSZ Document 17 Filed 11/20/09 Page 15 of 19

LAW OFFICES Oo F

HOLMES WEDDLE & BARCOTT

A PROFESSEONAL CORPORATION

WELLS FARGO CENTER - 999 THIRD AVENUE, SUITE 2600 - SEATTLE, WASHINGTON 98104-4011
TELEPHONE (206} 292-8008 - FAX (206) 340-0289

MICHAEL A. BARCOTT
EMAIL: mbarcott@hwb-law.com

April 15, 2009

VIA CERTIFIED MAIL

H.L. George Knowles
Injury at Sea

4705 — 16" Ave NE
Seattle, WA 98105

Re: Cuy Schroder v. Katmat Fisheries, [nc
Our File No. 4706.22845

Dear Mr. Knowles:

As you are already aware, Katmai Fisheries, Inc., (Limitation Plaintiffs) filed a limitation
action in the Western District of Washington. In that action, the Court issued the enclosed order,
directing the Limitation Plaintiffs to provide persons with injuries and/or claims copies of the
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please notify me immediately so that we can send notice directly to your client.

Very truly f,

fu "Michael A. Barcott

MAB:cd
Enclosure

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FILE COPY

Exhibit A_,p.1Zo0f 14

ANCHORAGE OFFICE - 701 WEST EIGHTH AVENUE, SUITE 700 - ANCHORAGE, ALASKA 99501-3408 - TELEPHONE (907) 274-0666 - FAX (907) 277-4657

 
Case 2:09-cv-00446-TSZ Document 17 Filed 11/20/09 Page 16 of 19

LAW OFFICES OF

HOLMES WEDDLE & BARCOTT

A PROFESSIONAL CORPORATION

WELLS FARGO CENTER - 999 THIRD AVENUE, SUITE 2600 - SEATTLE, WASHINGTON 98104-4001}
TELEPHONE (206) 292-8008 - FAX (206) 340-0289

MICHAEL A. BARCOTT
EMAIL: mbarcott@hwb-law.com

April 15, 2009

VIA CERTIFIED MAIL

H.L. George Knowles
Injury at Sea

4705 — 16" Ave NE
Seattle, WA 98105

Re: Full Lemusu/ Katmat Fisheries
Our File No. 4706.22845

Dear Mr. Knowles:

As you are already aware, Katmai Fisheries, Inc., (Limitation Plaintiffs) filed a limitation
action in the Western District of Washington. In that action, the Court issued the enclosed order,
directing the Limitation Plaintiffs to provide persons with injuries and/or claims copies of the
limitation action and the order itself. As the order states, all proceedings raising claims that arise
out of the KATMAI sinking are stayed. Any person that has such a claim must file it with the
Western District of Washington no later than June 30, 2009.

In addition to the limitation action and order, enclosed you will find an acceptance of
service. It is my understanding that you prefer that correspondence come to you directly rather
than to your client. If you accept service of the limitation action and order on behalf of your
client, please sign and return the enclosed Acceptance of Service. If you do not accept service,
please notify me immediately so that we can send notice directly to your client.

Very truly yours,

Ahuwedee

ky ‘Michael A. Barcott

MAB:cd
Enclosure

G4706\22845\Com\Knowles.Lemusu 4-14-09.doc

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Exhibit A, p.VB_of (4

ANCHORAGE OFFICE - 701 WEST EIGHTH AVENUE, SUITE 700 - ANCHORAGE, ALASKA 99501-3408 » TELEPHONE (907) 274.0666 - FAX (907) 277-4657
Case 2:09-cv-00446-TSZ Document 17 Filed 11/20/09 Page 17 of 19

 
     

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Certified Fee

 

Return Receipt Fee
(Endorsement Required)

 

Restricted Delivery Fee
(Endorsement Required)

 

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ExhibitA p14 ofY

 

 
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Case 2:09-cv-00446-TSZ Document 17 Filed 11/20/09 Page 18 of 19
Case 2:08-cv-00945-RSL Document 169 Filed 08/20/2009 Page 1 of 2

UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF WASHINGTON
AT SEATTLE

IN THE MATTER OF THE
COMPLAINT OF THE FISHING
COMPANY OF ALASKA AND FCA Case No. C-08-0945 RSL
HOLDINGS, INC., AS OWNERS
AND/OR OPERATORS OF THE ORDER GRANTING DEFAULT
VESSEL ALASKA RANGER, JUDGMENT

OFFICIAL NUMBER 550138, HULL
IDENTIFICATION NUMBER 182,
FOR EXONERATION FROM AND/OR
LIMITATION OF LIABILITY

 

 

The Court, having reviewed the Limitation Plaintiffs’ Motion for Default Judgment
against All Persons and Entities That Have Not Filed Claims and the record to date, hereby finds
and orders:

1, Limitation Plaintiffs’ Motion for Default Judgment is GRANTED;

2. No person or entity who did not file a claim on or before October 13, 2008, and no
person or entity who did not file an answer on or before October 27, 2008, shall be permitted to
file a claim or answer in this action or pursue any proceedings of any nature or description in any
venue whatsoever against Limitation Plaintiffs, their agents, servants or employees, or against
the Vessel for injury, death, or other damage arising out of the voyage that ended with the
Vessel’s sinking on March 23, 2008, while the Vessel was being operated upon the navigable

waters of the Bering Sea.

ORDER GRANTING
DEFAULT JUDGMENT - 1

gxhibit 1 , p._ of L

 

 

 
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Case 2:09-cv-00446-TSZ Document 17 Filed 11/20/09 Page 19 of 19
Case 2:08-cv-00945-RSL Document 169 Filed 08/20/2009 Page 2 of 2

DATED this 20" day of August, 2009.

MS Carenk

Robert S. Lasnik
United States District Judge

ORDER GRANTING
DEFAULT JUDGMENT - 2 -2-

Exhibit jp. of &

 

 
